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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


CONSTRUCTION INDUSTRY LABORERS                                )
PENSION FUND, a Trust Fund,                                   )
                                                              )
         and                                                  )
                                                              )
PATRICK R. PRYOR and STEVE SCHRIMPF,                          )
TRUSTEES OF THE CONSTRUCTION INDUSTRY                         )
LABORERS PENSION FUND,                                        )
                                                              )
         and                                                  )
                                                              )
CONSTRUCTION INDUSTRY LABORERS                                )      No.
WELFARE FUND, a Trust Fund,                                   )
                                                              )
         and                                                  )
                                                              )
PATRICK R. PRYOR and JAMES P. FITZGERALD,                     )
TRUSTEES OF THE CONSTRUCTION INDUSTRY                         )
LABORERS WELFARE FUND,                                        )
                                                              )
                                       Plaintiffs,            )
         v.                                                   )
                                                              )
KOLB GRADING, LLC                                             )
[SERVE:   Andrew Weinhaus                                     )
          Registered Agent                                    )
          8000 Maryland Ste. 1150                             )
          St. Louis, MO 63105 ]                               )
                                                              )
                                       Defendant.             )


                                         COMPLAINT

                                               COUNT I

         Come now Plaintiffs, Construction Industry Laborers Pension Fund, a Trust Fund, and Patrick

R. Pryor and Steve Schrimpf, duly appointed and acting Trustees of the Construction Industry

Laborers Pension Fund who are authorized to maintain this action on behalf of the Pension Fund




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and all the Trustees of the Construction Industry Laborers Pension Fund, and, for their cause of

action under Count I against Kolb Grading, LLC. (hereinafter referred to as “Defendant”), state:

         1.        This action arises under and jurisdiction is founded on Section 502 and Section 515

of the Employee Retirement Income Security Act (hereinafter referred to as "ERISA"), 29 U.S.C.

§1132 and 29 U.S.C. §1145.

         2.        Plaintiffs, Patrick R. Pryor and Steve Schrimpf, are duly appointed and acting

Trustees of the Construction Industry Laborers Pension Fund who are authorized to maintain this

action on behalf of the Pension Fund and all the Trustees of the Construction Industry Laborers

Pension Fund; Plaintiff, Construction Industry Laborers Pension Fund (hereinafter referred to as

"Plaintiff Fund"), is a trust fund existing and established pursuant to the Labor Management Relations

Act, as amended, Section 302, 29 U.S.C. §186; that said Plaintiff Fund is an employee benefit plan

within the meaning of Section 3 of ERISA, 29 U.S.C. §1003.

         3.        Said Plaintiff Fund was established on October 1, 1964, pursuant to the collective

bargaining agreement entered into between the Heavy Constructors Association of the Greater

Kansas City Area and the Western Missouri and Kansas Laborers District Council of the Laborers

International Union of North America, AFL-CIO; that the Trust Agreement establishing the Plaintiff

Fund was amended and revised effective January 1, 1976.

         4.        Plaintiffs have served the Secretary of the Treasury and the Secretary of Labor with

copies of the within Complaint as required by Section 502(h) of ERISA, 29 U.S.C. §1132(h) by

depositing copies of said Complaint in the United States mail, certified mail, addressed to said

Secretary of the Treasury and said Secretary of Labor on or about the date of the filing of the

Complaint.

         5.        Defendant is a Missouri limited liability company doing business in the State of

Missouri and particularly in the Eastern District of Missouri and Defendant at all times material herein

employed Laborers performing work covered by the collective bargaining agreements herein

mentioned.
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         6.        Defendant’s registered agent may be served at 8000 Maryland Ste. 1150, St. Louis,

Missouri, St. Louis County, Missouri, and therefore venue is proper in this court.

         7.        In the ordinary course of business, Defendant annually engages in substantial dollar

volume in business with persons, firms and corporations which are engaged in businesses affecting

commerce within the meaning of the Labor Management Relations Act, as amended, 29 U.S.C.

§151, and 29 U.S.C. §185.

         8.        Defendant Kolb Grading, LLC., at all times material herein was bound by the terms

and conditions of collective bargaining agreements then in effect and that would subsequently be in

effect between the Site Improvement Association and the Eastern Missouri Laborers’ District Council

and its affiliated Local Union No. 660; that Defendant is thereby bound by all collective bargaining

agreements in effect on said date and subsequent thereto.

         9.        Laborer employees of the Defendant were employed under the terms of the collective

bargaining agreements between the Site Improvement Association and the Eastern Missouri

Laborers’ District Council and its affiliated Local Union No. 660 under the terms of which Defendant

agreed, among other things, to pay and contribute to Plaintiff Fund various sums per hour for each

employee covered by and subject to said agreements; and to submit written reports within ten days

after the last day of the preceding month for the hours worked during said preceding month; that said

reports should list the names and hours worked and the amounts contributed for each such

employee of Defendant.

         10.       That the Defendant is required by Section 209 of ERISA, 29 U.S.C. §1059, to

maintain records with respect to each employee sufficient to determine the benefits due or which

may become due to such employees.

         11.       Under the agreements hereinabove mentioned, Defendant likewise agreed, among

other things, to be bound by the terms and provisions of the Trust Agreement, as amended, under

which the said Plaintiff Fund is administered and to allow an official agent of the Board of Trustees

of said Plaintiff Fund, upon request, during regular business hours, to inspect and make copies of
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any and all records of Defendant pertaining to compensation paid to employees, hours worked by

employees, monies withheld from employees for taxes paid on account of employees and other

records relevant to and of assistance in determining whether Defendant's obligations under said

agreements to make payments to said Plaintiff Fund have been faithfully performed.

         12.       An audit of Defendant's books and records for the period January 1, 2016 through

December 31, 2018, shows that Defendant owes Plaintiffs EIGHT THOUSAND, FIVE HUNDRED FIFTEEN

AND 75/100 ($8,515.75) DOLLARS        in unpaid fringe benefit contributions, SEVEN HUNDRED EIGHTY-SIX

AND 12/100 ($786.12) DOLLARS and        as and for liquidated damages.

         13.       Defendant has failed and refused to submit correct remittance reports and correct

contributions to Plaintiffs from January 1, 2019, to date, and Plaintiffs are unable to determine the

total amount of contributions owed by Defendant without an accounting of the books and records of

Defendant covering the period January 1, 2019, to date.

         14.       The collective bargaining agreements and Trust Agreement, as amended, and

hereinabove mentioned likewise provide that, if payment of sums due said Plaintiff Fund therein

mentioned are made later than the time required, the Board of Trustees may impose on the employer

liquidated damages, interest, audit costs, and reasonable attorneys' fees and Court costs incurred

to enforce payments from an employer in default.

         15.       The collective bargaining agreements and Trust Agreement, as amended, further

provide that the Board of Trustees may require the employer to put up cash deposits in advance of

work and/or to enter into an escrow arrangement with the Plaintiff Fund or post a corporate bond

guaranteeing performance under the Trust Agreement, as amended.

         16.       Plaintiffs are without an adequate remedy at law and will suffer immediate, continuing

and irreparable injury, loss and damage unless Defendant is ordered to specifically perform all

obligations on Defendant's part required to be performed under the collective bargaining agreements

and Trust Agreements, as amended, and herein referred to.


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         17.       Defendant is required by Section 515 of ERISA, 29 U.S.C. §1145, to make fringe

benefit contributions to Plaintiffs pursuant to and in accordance with the terms and conditions of the

aforesaid collective bargaining agreements and Trust Agreement, as amended; and this action is

brought by Plaintiff Trustees for and on behalf of Plaintiff Fund to enforce said Defendant's obligations

under Section 515 of ERISA.

         18.       That pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132(g)(2), Plaintiffs are

entitled to a mandatory award of unpaid fringe benefit contributions; interest on said unpaid fringe

benefit contributions as provided for in the aforesaid Trust Agreement, as amended; liquidated

damages as provided for in the aforesaid Trust Agreement, as amended; reasonable attorneys' fees;

and their cost of this action.

         WHEREFORE, Plaintiffs pray for the following Orders, Judgments and Decrees:

         A.        An Order directing that an accounting be made of Defendant's books and records to

determine the total number of hours worked and/or paid to employees covered by the aforesaid

collective bargaining agreements from January 1, 2019, to date; and

         B.        For judgment against Defendant in the amount of EIGHT THOUSAND, FIVE HUNDRED

FIFTEEN AND      75/100 ($8,515.75) DOLLARS in unpaid fringe benefit contributions, SEVEN HUNDRED

EIGHTY-SIX AND      12/100 ($786.12) DOLLARS and as for liquidated damages due and owing for the

period January 1, 2016 through December 31, 2018; and for judgment against Defendant in a sum

equal to the number of hours found by said accounting to have been worked and/or paid to

employees covered by said agreements times the hourly amounts due under said agreements for

the period January 1, 2019, to date; and

         C.        For judgment against Defendant for liquidated damages; and

         D.        For judgment against Defendant for interest on the unpaid fringe benefit

contributions; and

         E.        For judgment against Defendant for reasonable attorneys' fees incurred in the

prosecution of this cause; and
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         F.        For judgment against Defendant for audit costs incurred in the prosecution of this

cause; and

         G.        For an Order requiring Defendant to put up cash deposits in advance of work and/or

to enter into an escrow arrangement with Plaintiffs or post a corporate bond guaranteeing

performance under the collective bargaining agreements and Trust Agreement, as amended; and

         H.        For an Order, pursuant to Section 209 of ERISA, 29 U.S.C. §1059, requiring

Defendant to maintain records with respect to each employee sufficient to determine the benefits

due or which may become due to such employees; and

         I.        For an Order requiring the Defendant to specifically perform all provisions of the

current and future collective bargaining agreements and Trust Agreement, as amended, in respect

to the reporting and payment of fringe benefit contributions to the Plaintiffs; and

         J.        For judgment against Defendant for costs incurred in this action; and

         K.        For such other relief as the Court may deem appropriate.

                                                COUNT II

         Come now Plaintiffs, Construction Industry Laborers Welfare Fund, a Trust Fund, and Patrick

R. Pryor and James P. Fitzgerald, duly appointed and acting Trustees of the Construction Industry

Laborers Welfare Fund who are authorized to maintain this action on behalf of the Welfare Fund and

all the Trustees of the Construction Industry Laborers Welfare Fund, and, for their cause of action

under Count II against Defendant, state:

         1.        Plaintiffs, Patrick R. Pryor and James P. Fitzgerald, are duly appointed and acting

Trustees of the Construction Industry Laborers Welfare Fund who are authorized to maintain this

action on behalf of the Welfare Fund and all the Trustees of the Construction Industry Laborers

Welfare Fund; Plaintiff Construction Industry Laborers Welfare Fund (hereinafter referred to as

"Plaintiff Fund") is a trust fund existing and established pursuant to the Labor Management Relations

Act, as amended, Section 302, 29 U.S.C. §186; that said Plaintiff Fund is an employee benefit plan

within the meaning of Section 3 of ERISA, 29 U.S.C. §1002.
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         2.        Said Plaintiff Fund was established on April 1, 1972, pursuant to the collective

bargaining agreement between the Associated General Contractors of Missouri (hereinafter referred

to as "Association") and the Eastern Missouri Laborers Council and the Western Missouri and

Kansas Laborers District Council of the Laborers International Union of North America, AFL-CIO

(hereinafter referred to as "Union"); that the Trust Agreement establishing the Plaintiff Fund was

amended and revised effective January 1, 1976.

         3.        An audit of Defendant's books and records for the period January 1, 2016 through

December 31, 2018 shows that Defendant owes Plaintiffs TEN THOUSAND, FIVE HUNDRED SEVENTEEN

AND   16/100 ($10,517.16) DOLLARS in unpaid fringe benefit contributions, NINE HUNDRED FIFTY AND

18/100 ($950.18) DOLLARS as and for liquidated damages.

         4.        Plaintiffs hereby incorporate, adopt and make part hereof all of the allegations of

Paragraphs One (1), Four (4), Five (5), Six (6), Seven (7), Eight (8), Nine (9), Ten (10), Eleven (11),

Thirteen (13), Fourteen (14), Fifteen (15), Sixteen (16), Seventeen (17) and Eighteen (18) of Count

I of the within Complaint.

         WHEREFORE, Plaintiffs pray for the following Orders, Judgments and Decrees:

         A.        An Order directing that an accounting be made of Defendant's books and records to

determine the total number of hours worked and/or paid to employees covered by the aforesaid

collective bargaining agreements from January 1, 2019, to date; and

         B.        For judgment against Defendant in the amount of TEN THOUSAND, FIVE HUNDRED

SEVENTEEN AND 16/100 ($10,517.16) DOLLARS         in unpaid fringe benefit contributions, NINE HUNDRED

FIFTY AND 18/100 ($950.18)     DOLLARS as and for liquidated damages due and owing for the period

January 1, 2016 through December 31, 2018; and for judgment against Defendant in a sum equal

to the number of hours found by said accounting to have been worked and/or paid to employees

covered by said agreements times the hourly amounts due under said agreements for the period

January 1, 2019, to date; and

         C.        For judgment against Defendant for liquidated damages; and
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         D.        For judgment against Defendant for interest on the unpaid fringe benefit

contributions; and

         E.        For judgment against Defendant for reasonable attorneys' fees incurred in the

prosecution of this cause; and

         F.        For judgment against Defendant for audit costs incurred in the prosecution of this

cause; and

         G.        For an Order requiring Defendant to put up cash deposits in advance of work and/or

to enter into an escrow arrangement with Plaintiffs or post a corporate bond guaranteeing

performance under the collective bargaining agreements and Trust Agreement, as amended; and

         H.        For an Order, pursuant to Section 209 of ERISA, 29 U.S.C. §1059, requiring

Defendant to maintain records with respect to each employee sufficient to determine the benefits

due or which may become due to such employees; and

         I.        For an Order requiring the Defendant to specifically perform all provisions of the

current and future collective bargaining agreements and Trust Agreement, as amended, in respect

to the reporting and payment of fringe benefit contributions to the Plaintiffs; and

         J.        For judgment against Defendant for costs incurred in this action; and

         K.        For such other relief as the Court may deem appropriate.


                                                 ARNOLD, NEWBOLD, SOLLARS & HOLLINS, P.C.


                                                 /s/ Bradley J. Sollars____________
                                                 Bradley J. Sollars, No. 54931MO
                                                 1100 Main Street, Suite 2001
                                                 Kansas City, Missouri 64105
                                                 Telephone:      816-421-5788
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                                                 Attorneys for Plaintiffs




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